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 9
                                UNITED STATES DISTRICT COURT
10
                               CENTRAL DISTRICT OF CALIFORNIA
11
                                     SOUTHERN DIVISION
12
13
     United States of America,                         Case No. 8:21-cv-01398
14
                  Plaintiff,                           Complaint to reduce federal penalty
15                                                     assessment to judgment
                         v.
16
     Elie Waknine,
17
                  Defendant.
18
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20
21
            The United States of America alleges as follows:
22
                                      I. General Allegations
23
                                   A. Jurisdiction and Venue
24
            1.    This is a civil action to reduce to judgment against defendant Elie Waknine
25
      (“Waknine”) an unpaid agreed-to federal penalty assessment, interest thereon, and late
26
      payment penalties as provided by law.
27
28
                                                   1
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 1          2.     This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345,
 2    and 1355(a) because this action arises under the laws of the United States and because
 3    the United States is the plaintiff.
 4          3.     This action is commenced at the direction of the Attorney General of the
 5    United States and at the request of, and with the authorization of, the Chief Counsel of
 6    the Internal Revenue Service, a delegate of the Secretary of the Treasury of the United
 7    States, pursuant to 31 U.S.C. § 3711(g)(4)(C), and in accordance with 31 U.S.C.
 8    § 5321(b)(2).
 9          4.     Venue for this action is within the Central District of California under 28
10    U.S.C. §§ 1391(b)(1) and (b)(2) because Waknine resides in Huntington Beach,
11    California, in this district, and because a substantial part of the events or omissions
12    giving rise to the claim occurred within this judicial district.
13                             B. Statutory and Regulatory Provisions
14          5.     Citizens of the United States are required to report to the Internal Revenue
15    Service certain activity with foreign financial agencies for each year in which the activity
16    occurs. 31 U.S.C. § 5314(a); 31 C.F.R. § 1010.350(a).
17          6.     One such activity is “having a financial interest in, or signature or other
18    authority over, a bank, securities, or other financial account in a foreign country.” 31
19    C.F.R. § 1010.350(a).
20          7.     The form that needs to be completed for this annual reporting requirement
21    is the Report of Foreign Bank and Financial Accounts (FBAR).
22          8.     For calendar years before 2017, the FBAR report for foreign financial
23    accounts exceeding $10,000 maintained during a calendar year was due by June 30 of
24    the following calendar year. 31 C.F.R. § 1010.306(c).
25          9.     Civil penalties can be assessed against an individual who, whether willfully
26    or non-willfully, fails to comply with these reporting requirements. 31 U.S.C. §
27    5321(a)(5)(A).
28
                                                    2
     Case 8:21-cv-01398-DOC-DFM Document 1 Filed 08/27/21 Page 3 of 50 Page ID #:20




 1          10.    For willful violations, the penalty assessed is the greater of $100,000 or
 2    50% of the balance in the foreign financial account at the time of the violation. 31
 3    U.S.C. § 5321(a)(5)(C)(i).
 4            II. Claim for Relief: Reduce FBAR Penalty Assessment to Judgment
 5          11.    On August 28, 2018, Waknine was charged via information with willfully
 6    subscribing to a false income tax return for the 2007 income tax year in violation of 26
 7    U.S.C. § 7602(1) in case number 8:18-CR-00180-DOC in this Court.
 8          12.    On August 29, 2018, Waknine entered into a plea agreement in his criminal
 9    case which was filed with this Court as docket number 5 in 8:18-CR-00180-DOC on
10    August 29, 2018. A copy of the plea agreement as filed with the Court is attached as
11    Exhibit A (“Plea Agreement”).
12          13.    As a part of that agreement Waknine agreed that “in order to resolve [his]
13    civil liability for failing to report all foreign financial accounts on Reports of Foreign
14    Bank and Financial Accounts, TD F 90-22.1 (now FinCEN Forms114 ) and other foreign
15    information reporting obligations under the United States law, for tax years 2004 through
16    2013, defendant will pay a fifty percent penalty with respect to the funds held in his
17    undeclared foreign financial accounts for the one year with the highest aggregate balance
18    in all of the accounts for calendar years 2004 through 2013, and agrees to pay this sum to
19    the United States Treasury through the Department of Justice, Tax Division.” Plea
20    Agreement at page 8, ¶ 5(r).
21                A. Facts Regarding Waknines’s Willful Noncompliance with
22                                 FBAR Reporting Requirements
23          14.    In the plea agreement, Waknine agreed to the following facts. These facts
24    demonstrate that Waknine willfully failed to report his foreign bank accounts in violation
25    of 31 U.S.C. § 5314. All of these facts are quoted directly from his plea agreement that
26    both Waknine and his attorney signed. See Plea Agreement at 24-25.
27          15.    “ELIE WAKNINE, (‘Waknine’ or ‘the defendant’) was born in Casablanca,
28    Morocco in 1949. From in or about 1966 to 1971, Waknine lived in Israel. Waknine
                                                    3
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 1    then immigrated to the United States in 1971 and became a U.S. citizen in 1982.
 2    Waknine is a citizen of the United States, Morocco, and Israel.” Plea Agreement at 27
 3    ¶ 1.
 4           16. “From in or about 1972 until 1985, Waknine worked for an electronics
 5    company. From in or about 1985 until 2004, Waknine operated his own clothing
 6    business, and from in or about 1995 through 2003, Waknine also worked in a dental
 7    supply business. From in or about 2004 through approximately 2011, Waknine was
 8    retired but continued to do limited work in the closing business.” Plea Agreement at 27
 9    ¶ 2.
10           17.      “Since in or about 1991, Waknine has lived in Huntington Beach, California
11    which is located in the Central District of California.” Plea Agreement at 27 ¶ 3.
12                 “Waknine’s Unreported Foreign Bank Accounts (1994-2011)”
13           18.      “In or about 1994, Waknine received an inheritance from his family in
14    Morocco, which he used to open a bank account at Bank Leumi in Israel (the ‘Bank
15    Leumi Israel Account’). He opened the account with an initial deposit of approximately
16    $50,000. For the next several years, he deposited inheritance money in the account, with
17    deposits totaling approximately $4 million.” Plea Agreement at 27 ¶ 4.
18           19.      “Waknine concealed his Bank Leumi Israel Account, and the income
19    derived from this account, from the Internal Revenue Service (IRS) and from his tax
20    return preparers at all times prior to the closing of this account in 2011, including
21    through the following:”
22           a. “Waknine opened and maintained the account using the code name ‘Jonathan
23           Co.’ for purposes of keeping the account secret.”
24           b. “Waknine paid an additional fee so that Bank Leumi Israel would not mail
25                 correspondence to him in the U.S. regarding his account, known as the ‘Hold
26                 Mail’ option.”
27           c. “Waknine signed under penalty of perjury and filed false individual income tax
28                 returns, Forms 1040, which falsely claimed that Waknine did not have a
                                                    4
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 1                 financial interest in or signature authority over a financial account located in a
 2                 foreign country and did not declare income derived from his Bank Leumi Israel
 3                 Account.”
 4           d. “Annually, Waknine provided bank account records to his tax return preparer,
 5                 but did not provide records from or notify his return preparer of his Bank
 6                 Leumi Israel account.” Plea Agreement at 27-28 ¶ 5.
 7           20.      “In or about 2004, Waknine opened a second foreign bank account at
 8    SwissBank #1 located in Switzerland (the ‘Swiss Bank Account’), funded with
 9    approximately $1.5-2.0 million from his Bank Leumi Israel Account.” Plea Agreement
10    at 28 ¶ 6.
11           21.      “Waknine concealed his Swiss Bank Account, and the income derived from
12    this Account, from the IRS and from his tax return preparers at all times prior to the
13    closing of this account in or about 2011, including through the following;”
14           a. “Waknine signed blank account opening documents on the instructions of
15                 Swiss Bank #1, which the bank then used to open and maintain his account
16                 using an entity name, ‘Sorn Investments Inc.,’ which was an entity
17                 incorporated in Panama through a Panamanian law firm.”
18           b. “Waknine requested that Swiss Bank #1 not mail correspondence to him in the
19                 U.S. regarding his account, known as the ‘Hold Mail’ option.”
20           c. “Waknine signed under penalty of perjury and filed false individual income tax
21                 returns, Forms 1040, which falsely claimed that Waknine did not have a
22                 financial interest in or signature authority over a financial account located in a
23                 foreign country and did not declare income derived from his Swiss Account.”
24           d. “Annually, Waknine provided bank account records to his tax return preparer,
25                 but did not provide records from or notify his return preparer of his Swiss Bank
26                 Account.” Plea Agreement at 28-29 ¶ 7.
27           22.      “On or about April 15, 2008, Waknine made, subscribed, signed, and filed a
28    2007 federal U.S. Individual Income Tax Return, Form 1040, which was false as to a
                                                       5
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 1    material matter, as it falsely stated that the defendant did not have financial interest [sic]
 2    in or signature authority over any foreign financial accounts, and failed to disclose the
 3    income that the defendant received from his foreign financial accounts. The false 2007
 4    tax return contained a written declaration that it was made under the penalties of perjury,
 5    the defendant did not believe the tax return to be true and correct as to every material
 6    matter, and the defendant willfully subscribed to the tax return with the specific intent to
 7    violate the law.” Plea Agreement at 29-30 ¶ 8.
 8          23.    “A ‘back-to-back loan’ was a mechanism by which a foreign accountholder
 9    received a ‘loan’ in the United States which was collateralized by an undeclared foreign
10    account. Account holders were generally prohibited from drawing down the account
11    below the amount owed on the ‘loan’ in the United States, thereby in effect transferring
12    the use of the funds from the foreign account to the United States without having to wire
13    the funds to an account in the United States. The foreign account balance would include
14    the encumbered funds, even though they were not available to the US taxpayer, except in
15    the form of the ‘loan’ in the United States. This allowed an owner of an undeclared
16    foreign account to enjoy the economic benefits of the funds in the United States without
17    formally repatriating the funds or creating a paper trial that could potentially disclose the
18    existence of the undeclared foreign account to U.S. authorities.” Plea Agreement at 30
19    ¶9.
20          24.    “In 2009, at the suggestion of Bank Leumi Israel, Waknine applied for and
21    received a back-to-back loan from Bank Leumi USA in the amount of $500,000, which
22    was secured by Waknine’s account at Bank Leumi Israel. In order to secure a loan,
23    Waknine agreed to transfer approximately $150,000 of his investment portfolio with
24    another United States bank to Bank Leumi USA.” Plea Agreement at 30 ¶ 10.
25          25.    “The proceeds of the back-to-back loan were used to pay off $500,000 of a
26    mortgage loan on Waknine’s personal residence at another bank in the United States.”
27    Plea Agreement at 30 ¶ 11.
28
                                                    6
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 1          26.    “In 2010, Waknine extended his back-to-back loan with Bank Leumi USA
 2    through July 2012.” Plea Agreement at 30 ¶ 12.
 3          27.    “In June 2011, Bank Leumi Israel informed Waknine that he would no
 4    longer be able to maintain his account under the code name Jonathan Co.” Plea
 5    Agreement at 31 ¶ 13
 6          28.    “In September 2011, Waknine declined to sign a declaration provided by
 7    Bank Leumi Israel stating that the existence of, and any income derived from, the
 8    account maintained at Bank Leumi Israel had been property reported to U.S. tax
 9    authorities.” Plea Agreement at 31 ¶ 14.
10          29.    “In November 2011, Wakinine requested that his Bank Leumi Israel
11    account be closed. Waknine used the back-to-back loan from Bank Leumi USA to
12    indirectly repatriate $500,000 from his Bank Leumi Israel account by pocketing the
13    proceeds of the loan in the United States and allowing Bank Leumi Israel to deduct a
14    corresponding amount from his Bank Leumi Israel account.” Plea Agreement at 31 ¶ 15.
15          30.    “Waknine attempted to conceal the remaining account balance of
16    approximately $2.4 million by requesting in writing that it be transferred by personal
17    checks to Waknine’s home address in the United States.” Plea Agreement at 31 ¶ 16.
18          31.    “From 2006-2011, Waknine received unreported income on his Bank
19    Leumi Israel account in approximately the following amounts:”
20
21                  YEAR                                         Bank Leumi Israel Income
22                  2006                                         $140, 892
23                  2007                                         $157,824
24                  2008                                         $119,980
25                  2009                                         $63,449
26
27
28
                                                  7
     Case 8:21-cv-01398-DOC-DFM Document 1 Filed 08/27/21 Page 8 of 50 Page ID #:25




 1                    2010                                         $13,2051
 2                    2011                                         $10,9462
 3                    TOTAL                                        $506,296
 4
 5    Plea Agreement at 31-32 ¶ 17.
 6          “Waknine’s Unreported Foreign Bank Accounts (2011-2015)”
 7          32.      “Still wishing to avoid disclosure of the foreign funds from his now-closed
 8    Bank Leumi Israel account, in December 2011 Waknine used the $2.4 million he
 9    received from closing the account to open a new foreign bank account at another bank in
10    Israel (the Second Israeli Bank Account”). Waknine opened the account in person at a
11    branch in Netanya, Israel.” Plea Agreement at 32 ¶ 18
12          33.      “Waknine concealed this Second Israeli Bank Account from the IRS and
13    from his tax return preparers from its opening until in or about October 2015, including
14    through the following affirmative acts:”
15          a. “Waknine opened and maintained the account using his Israeli and Moroccan
16                passports and addresses.”
17          b. “Waknine signed under penalty of perjury and filed individual income tax
18                returns, Forms 1040, for tax years 2011-2013, which falsely claimed that
19                Waknine did not have a financial interest in or signature authority over a
20                financial account located in a foreign country. These tax returns did not
21                declare any income derived from his Second Israeli Bank Account.”
22
23
24
25
26
      1 “Based on information currently available to the IRS, the unreported Bank Leumi Israel
      income for 2010 did not result in a tax loss for 2010.”
27
      2 “Based on the information currently available to the IRS, the unreported Bank Leumi
28    Israel income for 2011 did not result in a tax loss for 2011.”
                                                    8
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 1          c. “In 2012 and 2014, documents created by his tax return preparer reflect that
 2                Waknine was asked by his tax return preparer whether he had any foreign bank
 3                accounts, and Waknine responded in the negative.”
 4          d. “Annually, Waknine provided bank account records to his tax return preparer,
 5                but did not provide records from or notify his return preparer of his Second
 6                Israeli Bank Account.”
 7          e. “In 2012, 2013, and 2015, Waknine’s tax return preparer also provided email
 8                reminders prior to the June 30 deadline that foreign bank accounts for the prior
 9                year were required by law to be disclosed to the U.S. Treasury Department.”
10          f. “When Waknine ultimately disclosed the account to his tax return preparer at a
11                meeting in October 2015, notes of the meeting taken by the tax return preparer
12                reflect that Waknine claimed that his name was not on the account prior to
13                2014.”
14    Plea Agreement at 32-33 ¶ 19.
15          34.      “Meanwhile, in approximately 2011, Waknine closed his Swiss Bank
16    Account. Still wishing to avoid disclosure of the foreign funds from his now closed
17    Swiss Bank Account, in 2011 Waknine used the remaining balance of approximately
18    $1.4 million to open an account at a bank in France (the ‘French Bank Account’).” Plea
19    Agreement at 33 ¶ 20.
20          35.      “Waknine concealed this French Bank Account from the IRS and from his
21    tax return preparers from its opening until in or about October 2015, including through
22    the following:”
23          a. “Waknine opened and maintained the account using his Moroccan address and
24                passport.”
25          b. “Waknine signed under penalty of perjury and filed individual income tax
26                returns, Forms 1040, for tax years 2011-2013, which falsely claimed that
27                Waknine did not have a financial interest in or signature authority over a
28
                                                    9
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 1                 financial account located in a foreign country. These tax returns did not
 2                 declare any income derived from his French Bank Account.”
 3           c. “In 2012 and 2014, documents created by his tax return preparer reflect that
 4                 Waknine was asked by his tax return preparer whether he had any foreign bank
 5                 accounts, and Waknine responded in the negative.”
 6           d. “Annually, Waknine provided bank account records to his tax return preparer,
 7                 but did not provide records from or notify his return preparer of his French
 8                 Bank Account.”
 9           e. “In 2012, 2013, and 2015, Waknine’s tax return preparer also provided email
10                 reminders prior to the June 30 deadline that foreign bank accounts for the prior
11                 year were required by law to be disclosed to the U.S. Treasury Department.”
12           f. “When Waknine ultimately disclosed the account to his tax return preparer in
13                 October 2015, contemporaneous notes taken by the tax return preparer reflect
14                 that Waknine claimed that his name was not on the account prior to 2014.”
15     Plea Agreement at 33-34 ¶ 21.
16       B. Facts Regarding the FBAR Agreement Signed by Waknine and His Counsel
17                       Agreeing to the FBAR Penalty Amounts at Issue Here
18                               and Waiving all Defenses to this Action
19           36.      Waknine and his attorney signed an “FBAR Agreement” with the
20     Commissioner of Internal Revenue dated May 13, 2019. A copy of the agreement,
21     redacted to protect personal identifying information, is attached at Exhibit B (“FBAR
22     Agreement”).
23           37.      In the agreement, Waknine and his counsel agreed that Waknine had FBAR
24     reporting requirements in the 2004 through 2013 calendar year.
25           38.      Waknine and his counsel also “agree[d] that there is a penalty due from
26     Waknine under 31 U.S.C. 5321(a)(5) [the willful FBAR statute] in the amount of
27     $2,407,624 for failure to file FBARs for calendar years 2004 through 2013.” FBAR
28     Agreement at 1 ¶ 7.
                                                     10
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 1             39.   Waknine and his counsel agreed that the penalty “shall be assessed for
 2     calendar year 2007.” FBAR Agreement at 1 ¶ 8.
 3             40.   Waknine waived “any and all defenses to the assessment and collection of
 4     the FBAR penalty . . . including any defense based on the expiration of the period of
 5     limitations on the assessment or collection of penalties and interest.” FBAR Agreement
 6     at 2 ¶ 9.
 7             41.   Waknine also signed Form 13449 Agreement to Assessment and Collection
 8     of Penalties, in which he agreed to the assessment of the $2,407,624 in penalties and
 9     dated the form June 10, 2019. His attorney also signed and dated the form June 14,
10     2019.
11             42.   On September 3, 2019, the IRS assessed willful FBAR penalties against
12     Waknine for the 2007 income tax year totaling $2,407,624.
13             43.   On September 12, 2019, notice and demand for payment was sent to
14     Waknine.
15             44.   Despite timely notice and demand for payment of the FBAR assessment,
16     Waknine has failed to pay in full the agreed-to FBAR penalty.
17             45.   The only payment that Waknine has made towards his FBAR penalty was
18     the $600,000 payment made on May 3, 2019, prior to this Court’s sentencing in his
19     criminal case on May 19, 2019.
20             46.   Waknine has failed to pay the agreed-to FBAR penalty despite the fact that
21     his attorneys repeatedly represented to this Court during the sentencing phase of
22     Waknine’s criminal case that his payment of the agreed-to FBAR penalty per the terms
23     of his plea agreement was a factor this Court should consider in determining Waknine’s
24     sentence. See 18-CR-00180, Response to Government’s Sentencing Memorandum, Doc.
25     26 at 3, ECF Page ID 145 (“the $2.4 million FBAR penalty will wipe out most of Mr.
26     Waknine and his wife’s retirement savings, which financial devastation provides specific
27     deterrence, general deterrence, and just punishment on its own.”); 18-CR-00180,
28     Minutes of Sentencing Hearing, May 13, 2019, page 7, lines 8-16 (“But in terms of
                                                   11
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 1     general deterrence . . . taking half of the inheritance, is a very severe result, whatever you
 2     wanna call it, that Mr. Waknine certainly is going to feel, and anyone looking at this
 3     cases is going to recognize.”)
 4           47.    Interest and penalties have accrued on the assessed FBAR penalties as
 5     provided by law.
 6           48.    As of August 15, 2021, Waknine was liable to the United States for
 7     $2,051,331.33 which is comprised of the FBAR penalty, interest, and penalties for late
 8     payment under 31 U.S.C. § 3717(e)(2) calculated as follows:
 9                  FBAR penalty balance:                          $1,807,624
10                  6% delinquency through 8/15/2021:              $208,892
11                  1% interest through 8/15/2021                  $34,815.33
12                                        III. Relief Requested
13           WHEREFORE, the United States of America requests the following relief from
14     the Court:
15           A.     Enter judgment in favor of the United States of America and against
16     Waknine in the amount of $2,051,331.33, plus all statutory accruals, including interest
17     and penalties, plus costs and expenses;
18           B.     Grant the United States its costs incurred in bringing this action; and

19           C.     Order any further relief the Court deems just and appropriate.

20
                                               Respectfully submitted,
21
                                               TRACY L. WILKISON
22                                             Acting United States Attorney
                                               THOMAS D. COKER
23                                             Assistant United States Attorney
                                               Chief, Tax Division
24
25
       Dated: August 27, 2021                  /s/ Melissa Briggs
26                                             MELISSA BRIGGS
                                               Assistant United States Attorney
27
                                               Attorneys for the United States of America
28
                                                    12
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                    EXHIBIT A
                      Case 8:21-cv-01398-DOC-DFM Document 1 Filed 08/27/21 Page 14 of 50 Page ID #:31
                               Case 8:18-cr-00180-C · · ~ Document 5 Filed 08/29/18 Pa~                                                                      :of 34 Page ID #:8

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                        2      THOMAS D. COKER
                               Assistant United States Attorney                                                 < 1" \Ci" c o UR [
                                                                                ctr       i:.•   .  .~1.s 1: \ .' ''-or c,•. t. iL
                        3      Chief, Tax Division                                  '' t h ' ~.l ..CJL'.> l,l :.t,•.~·\
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                               ROBERT F. CONTE
                               Assistant United States Attorney                                                                   .. _......... - ·· "'
                        4      Deputy Chief, Tax Division
                                                                                11. ·,· ........ ···-·- - ..-··--· ___ ........-

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                               UNITED STATES OF AMERICA
                       15
                                                                                                           UNITED STATES DISTRICT COURT
                       16
                                                                                         FOR THE CENTRAL DI STRICT OF CALIFORNIA
                       17
                                UNITED STATES OF AMERI CA,                                                               No.      CR 18-           SA lS-CR- 1~o
                       18
                                                                   Plaint i ff ,                                         PLEA AGREEMENT FOR DEFENDANT
                       19                                                                                                .ELIE WAKNINE
                                                                                     v.
                       20
                                ELIE WAKNINE,
                       21
                                                                   Defendant.
                       22

                       23
                                                   1.                Thi s c onstitute s the p l ea a greeme nt between ELIE WAKN INE
                       24
                                  ("defendant") and t he United States Attorney' s Office for t he Central
                       2·s
                                 Dist rict of California and the Unit ed _St     ate
                                                                           ..........        s ..--·-·····
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                                 Tax Di vi s ion (together , ''the USAO") in the above-captioned case .                                                                                                                         1
                       27
                                 This a greement is limited to t he USAO and cannot bind any other
                       28
                                                                                                                                                                                                 159GG111.l0
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       Case 8:18-cr-00180-C: .., Document 5 Filed 08/29/18 Pas   _ of 34 Page ID #:9




   1   federal, state, local, or foreign p:cosecuting, enforcement,
   2   administrative, or regulatory authorities.
   3                             DEFENDANT'S OBLIGATIONS
   4        2,    Defendant agrees to:
   5              a.   Give up the right to indictment by a grand.jury, and
   6   at the earliest opportunity requested by the OSAO anct provided by the
   7   Court, to appear and plead guilty to a one-count Information charging
   8   a violation of 26    O.s.c.   § 7206(1) in the form attached to this
   9   agreement or a substantially similar form.
  10             b,    Not contest facts agreed to in this agreement.
 11              c.    Abide by all agreements regarding sentenc:1.ng contained
 12    in this agreement.
 13              d.    Appear for all court appearances, surrender as ordered
 14    for service of sentence, obey all conditions of any bond, and ob~y
 15    any other ongoing court order in this matter.
 16              e.    Not commit any crime; however, offenses that would be
 17    excluded for sentencing purposes under United States Sentencing
 18    Guidelines ("U.S.S.G." or "Sentencing Guidelines 11 ) § 4.A1.2(c) are not
 19    within the scope of this agreement.
 20              f.    Be truthful at all times with Pretrial Services, the
 21    United States Probation Officer and the.Court.
 22              g,    Pay the applicable spec:l.al assessment at or before the
 23    time of sentencing unless defend.ant lacks the ability to pay and
 24    prior to sentencing submits a completed financial statement          .oh   a form
 25    to be provided by the USAO.
 26              h.    Having been fully advised by defendant's attorney
 27    regarding application of the statute of limitations to the offense to
 ·28
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Case 8:21-cv-01398-DOC-DFM Document 1 Filed 08/27/21 Page 16 of 50 Page ID #:33
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   1   whicl1 defendant is pleading gu:l.lty, defendant hereby knowingly,
   2   voluntarily, and intelligently waives, relinquishes 1 and gives up:
   3   (i) any right that defendant might have not to be prosecuted for the
   4   offense to which defendant is pleading guilty bec~u$e of the
   5   expiration of the statute of limitations for the offense prior to the
   6   filing of the information alleging the offense; and (ii) any defense,
  7    claim, or argument defendant could raise or assert that prosecution
  8    -0f the offense to which defendant is pleading             guilty is barred by the
  9    expiration of the applicable statute of limitations, pre-ind:l.otment
 10    delay, or any speedy trial violation.
 11          3.     Defendant further agrees to cooperate fully with the USAO,
 12    the Internal Revenue Service, and, as directed by the USAO, any other
 13    fedex:al, state, local, or foreign prosecuting, enforcement,
 14    administrative, or regulatory authority.              This cooperat.ion requires
 15    defendant to:
 16                 a.     Respond truthfully and completely to all q1,1estions
 17    that may be put to defendant, whether in interviews, before a grand
 18· jury,,.· or at any trial or other court proceeding.
 19                 b.    Attend all meetings, grand jury ~essions, trials or
 20    other proceedings at which· defendant's presence is requested by the
 21    USAO or compelled by subpoena or court order.
 22                 c.     Produce voluntarily all documents, records, or other
 23    tangible evidence relating to matters about which the USAO, or its
 24    designee, inquires.
 25          4.,    For pu:tpose·s of th.:ls ag_reement: (a) "Cooperation
 26    Information" shall         mean   any statements made, or documents, recox:ds,
 27    tangible evidence, or other information provided, by defendant
 28
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   1   pu~suant to defendant's cooperation under this agreement; and (b)
   2   \\!?lea Information" shall mean any statements made by defendant, under
   3   oath, at the guilty plea hearing and the agreed to factual basis
   4   statement in this agreement.
   5                                         DEFENDANT'S OTHER OBJ.,IGAT!ONS

   6           5.             Defendant also agrees:
   7                          a.   Defendant agt"ees to pay restitution to the Inte:rnal
   8   Revenue Service in the total amount of $~9,944 for the tax years
   9   2006-2009, pursuant to 18                                            u.s.c.                                 S 3663(a) (3).                     Defendant understands
 10    and agrees that this figure does not include interest under 26                                                                                                  o.s.c.
  11   S 6601, which will be assessed by the IRS pursuant to Title 26.
 12    Defendant agrees that the total amount of restitution reflected in
 13    this agreement results :from defenc:lant's fraudulent conduct.
  14                          b.   The total amount of restitution consists of the
 15    following:
 16
 17      'tax Year                                                                                             'l'ax Pue and Owing

 18      2006                                                                                                   $37,162
 19      2007                                                                                                  $42,932
 20      2008                                                                                                  $16,879
 21      2009                                                                                                  $2,971
 22      Total                                                                                                 $99,944
        ,__,                                                                                                                                     "~             --,-
 23

 24                           0,   Defendant agrees th.at restitution is due and payable
 25    i:mmediateJ.y after the judgment is entered and is subject to imrneo:Late
                ··········-            ························································· -··········-·•······················ ·······-

 26    enforcerneht, in full, by the United States.                                                                                              If the Court imposes a
 27    schedule of payments, defendant agrees that the schedule of payments
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   1   .i.s a schedule of the minimum payment due, and that the payment
   2   schedule does not prohibit or J.imit the methods by which the United
   3   States may immediately enforce the judgment in full.
   4                  d.      The IRS will use the amount of restitution order as
   5   the basis for a civil assessment under 26                  o.s.c.      5 6201(a)(4).
   6   Defendant does not have the right to challenge the amount of this
   7   rest:i.tution-based assessment.          ~       26   u. s. C.   §   6201 (a) (Al) {C).
   8   Neither the e,i;istemce of a :restitution payment schedule nor the
   9   defendant's timely payment of restitution according to that schedule
 10    will preclude the IRS from immediately collecting the full amount of
  11   the restitution-based assessment.                Interest on the restitution-based
 12    asses~ment will accrue under 26            u.s.c.      § 6601 from the last date
 13    prescribed for payment of the           tc;\X   liability that is the subject of
 14    the restitution-based assessment.to the date that the IRS receives
 15    full payment.
 16                   e.      Defendant is entitlad to receive credit for
 17    restitution paid pursuant to this plea agreement ag~.i.nst those
 18    assessed civil tax liabilities due and owing for the same periods :for
 19    which restitution was ordered.             Defendant under.stands and agrees that
 20    the plea agreement does not resolve the Defendant's civil tax
 21    liabilities, that the !RS may seek additional taxes, interest and
 22    penalties from Defendant relating to the conduct covered by this plea
 23    agreement and for conduct relating to another time period, and that
 24    satisfactj_on of the restitution debt does not settle, satisfy, ox
 25    compromise Defendant's obligation to pay any remaining civil tax
 Z6 ... Tlal5Ilfty;        Defendant authorizes release Of inf'Ormat:J,;On to the IRS

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Case 8:21-cv-01398-DOC-DFM Document 1 Filed 08/27/21 Page 19 of 50 Page ID #:36
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       1   for purposes of making the civil tax and restitution-based
       2   assessments.
       3              f.       Defendant unde,:stands that he is not entitled to
       4   credit with the IRS for any payment until the payment is received by
       5   the IRS.
       6              g.      If full payment cannot be made immediately, defendant
       7   agrees to make a complete and accurate financial disc.losure to the
       8   IRS on forms prescribed by the IRS (including, but not limited to,
       9   IRS Form 433-A and Form 433-B, as appropriate), and to disclose to
  10       the IRS ,;my and all additional financial information and financial
  11       statements provided to the probi:ltion office.             Defendant also ag.rees
  12       to provide the above-desc:dbed information to the probation office.
  13                  h.      If Defendant makes a payment of the restitution agreed
  14       to above priot' to sentencing, the payment will be applied as a cred:lt
 15. aga:tnst the restitution ordered pursuant to the above.
 16                   i.      Defendant agrees to send restitution payments to the
 17        IRS at the following address:
  18

 19
 20                   Attn:        Mail Stop 6261, Restitution

 21                   333 W. Pershing Avenue
 22                   Kansas City, MO 64108
 23
 24                   j.      With each payt0;ent to the !RS, defendant will provide
 25        the following information:
 26

 27                           i,    Defendant'~ name and Social Security number;
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   l                    ii.    The District Court and the docket number assigned
   2              to the case;
   3                    iii.    Tax years for which restitution has been
   4              ordered;
   5                    iv.    A statement that the payment is being submitted
   6              pursuant to the District Court's restitution order.
   7
   8              k.    Defendant agrees to send     to   the Clerk of Court of the
   9   District and to the U,S. Attorn~y's Office Financial Litigation Unit
  10   notice of restitution payments sent directly to the IR.S.
  11              L     A failure to send restitution payments to the specific
  12   lRS address set forth above, or a failu.re to include all of the
  13   information listed above, ma,y ;result in the IRS applying the payment
  14   in the be$t interest of the United States, including application to
  15   taxes or periods other than those identified above.
  16              m.    Defendant is liable for the fraud penalty imposed by
  17   the Internal Revenue Code, 26     u.s.c.   § 6663, on the understatements
 18    of tax liability for tax years 2006-2009.
                          '
  19              n.    Defendant gives up any and all objections that could
 20    be asserted to the Examination Division of the Internal Revenue
 21    Service receiving materials or information obtained during the
 22    criminal investigation of this matter, including materials and
 23    information obtained through grand jury subpoenas.
 24               o.    'l'hat if requested by the !RS1 defendant will sign
 25    closing agreements with the Internal Revenue Service permitting the
 26    Internal Revenue Service to assess and collect his tax liabilities
 27    for tax years 2006-2009, as well as assess and collect the civil
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    1     fraud penalty for each year and statutory interest, on the tax
    2     liabilities, as provided by law.
    3                           p.                      To repatriate any funds or assets (excluding real and
    4     personal property) held in any foreign country or outside the United
    5     States.
    6                            q.                     That nothing· in this agreement shall preclude or bar
    7     the IRS from the assessment and/or collection of any additional tax
    8     liability, including interest and penalties, determined to be due and
    9     owing from defendant by the IRS for 2004-2013.
  10                             r.                     That, ·in order to resolve defendant's civil liability
  11      for failing to report all foreign financial accounts on Reports of
  12      Foreign Bank and Financial Accounts, TD F 90-22.1 (now FinCEN Forms
  13      114); and other foreign information reporting obligations under the
  14      Onited States law, for tax years 2004 through 2013, defendant will
  15      pay a fifty percent penalty with respect to the funds held in his
  16      undeclared foreign financial accounts for the one year with the
  17      highest aggregate balance in all of the accounts for calendar years
  18      2004 through 2013, and agrees to pay this sum to the United States
  19      Treasury, through the United States Department of Justice, 'l'ax
  20      Division.
  2'.l.                                                                                            'l'HE US.AO' S OBLIGATIONS

  22.            6.              The US.AO agrees to:
  23                             a.                      Not contest facts agreed to in this agreement.

  24                             b.                      Abide by all. agreements regarding sentencing contained

  25      in this agreement.
             .        ·············-··············-················································································································ ····-····

  26                             c.                      At the time of sentencing, provided that defendant
  27      demonstrates an acceptance of responsibility for the offense up to
  28
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   1   and i ncluding the time of sentencing, recommend a two-level reduction
   2   in the applicable Sentencing Guideline~ offense level, pursuant to
   3   U. s. s. G.   §    3E1. l., and .recommend, and if necessary move, for an
   4   additional one-level reduction if available under that section,
   5                     d.   Not to further criminally prosecute defenda~t for any
   6   additional violations known to the USAO at the time of the plea,
   7   arising out of the information provided by the defendant, and
   8   defendant's conduct (i) described in the Information or (ii)
   9   described in the statement of facts provided in Attachment A.
  10   Defendant understands that the USAO is free to criminally prosecute
  11   defendant foi: any other unlawful past conduct or any unlawful conduct
  12   that occurs after the date of this agreement.             Defendant agrees that
  13   at the time of sentencing the Court may consider the uncharged
  14   conduct in determining the applicable Sentencing Guidelines range ,
  15   the propriety and extent of any departure from that range, and the
  16   sentence to be imposed after consideration of the Sentencing
  17   Guidelines and all other relevant factors under 18 U.S.C. § 3553(a).
  18          7.         The USAO further agrees:
  19                     a.   Not to offer as evidence in its case-in-chief in the
  20   above-captioned case or any other criminal prosecution that may be
  21   brought against defendant by the USAO, or in connection with any
  22   sentencing prooeeding in any criminal case that may be brought
  23   age\inst defendant by the USAO, any Cooperation Information.
  24   Defendant agrees , however, that the USAO may use both Cooperation
  25   Information and Flea Information: (i) to obtain and pursue leads to
  26   other evidence, which ·-evid~nce may be used for · any purpose~·--1n0Tua1ng
  27   any criminal p-r osecution of defendant; (ii) to cross-examine

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   1   defendant should defendant testify, or to rebut any evidence offered,
   2   or arg1Jment or representation made, by defendant, defendant's
   3   counsel, or a witness called by defendant in any trial,.sentencing
   4   hearing, or other court proceeding; and (ili) in any criminal
   5   prosecution of defend.ant for false statement, obstruction of justice,
   6   or perjury.
   7                                            b.                        Not to use Cooperation Information, against defendant
   8   at sentencing for the purpose of determining the applicable
   9   Sentencing Guidelines range, including the appropriateness of an
  10   upward departure, or the sentence to be imposed, and to recommend to
  11   the Court that Cooperation !nformat.ion not be used in determining the
  12   applicable Sentencing Guic::ielines range or the sentence to be imposed.
  13    Def~ndant uncterst.ands, however, that Cooperation Information will be
  14   disclosed to the pro):)ation office and the Court, and that the court
  15   may use Cooperation Information for the pu:t:poses set forth in U.S. S. G
  16   § 1B1.8(b) and for determining the sentence to be imposed.
  17                                            c.                         In connection with the defendant's sentencing, to
  18   bring to the Court's attention the nature and extent of ctefendant1 s
  19   cooperation.
  20                                            d.                         If the USAO determines, .in its exclusive judgment,
  21   that defendant has both complied with defendant's obligations under
  22   this agreement and provided substantial assistance to law enforcement
  23   in the prosecution ox: investigation of another ("substantial
  24   assistance"), to move the court pursuant to U. s. S. G. § 5K1 .1 to fix
  25   an offense level and corresponding guideline range below that
           ...... : .....··.................................................................. · .............................................................· .....··················································-···········-·············································································· ··-······

  26   otherwise dictated by the Sentenc:Lng Guidelines, and to reco~end a
  27   sentence within this reduced range.                                                                                                                                                      Defendant understands that he
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                                                                                                                                                                                                                                                                                                                              H!/66711.10
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   l    cannot withdraw his plea of guilty if the USAO does not file a motion
   2    for a downward departure.             Defendant further understands that the
   3    USAO has not made a determination as of this date whether the facts
   4    of this case present circumstances deserving of a downward departure.
   5          DEFENDANT'S ONDmRSTANDINGS REGARDING SUBSTANTIAL ASSISTANCE
   6         8.    Defendant understands the following:
   7               a.      Any knowingly false or misleading statement by
   8    defendant will subject defendant to prosecution for false statement,
   9    obstruction of justice, and perjury and will constitute a breach by
  10    defendant o:f;' this agreement.
  11               b.      Nothing in this agreement requires the USAO or any
 12     other prosecuting, enforcement, administrative, or regulatory
  13    authority to accept any cooperation or assistance that defendant may
  14    o:f fer, or to use it in any particular way.
  :LS              c.      Defendant cannot withdraw defendant's guilty plea if
 16     the USAO does not mak:e a motion pursuant to U.S. S. G. § 5K1. 1 for a
 17     reduced guideline range or if the USAO makes such a motion and the
 18     Court does not grant it or if the Court grants suoh a USAO motion but
 19     elects to sentence above the reduced r~nge.
 20                d.      At this time the USAO makes no agreement or
 21     representation as to whether any cooperation that defendant has
 22     provided or intends to provide oonstitutes substantial assistance.
 23     The decision whether defendant has provided substantial assistance
 24     will rest solely within the exclusive judgment of the USAO.
 25                e. ··   The US.AO'$ determination of whether defendant has
                                      ····································································································································· ························································-·············· ·······-········-·····

 26     provided substantial assistance will not depend in any way on whether
 27     the government prevails at any trial or court hearing in which
 28
                                                                        11.
                                                                                                                                                                                                                                                    15%6111.10
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   l   d.efendant testifies o:r in which the government otherwise presents
   2   information resulting from defendant's cooperation.
   3                               NATURE OE' THE OFFENSE~

   4          9.    Defendant understands that fo.r defendant to be guilty of
   5   the ox:ime charged in count one of the Information, that is, filing a
   6   false tax ret~rn, in violation of Title 26, United States Code,
   7   Section 7206(1), the following must be true:
   8                a.    The defendant made, subscribed, signed, and filed with
   9   the IRS a 2007 federal U.S. Inciividual Income Tax Return, Fe.rm 1040,
  10   which was false as to a materia·1 matter, as it falsely stated that
  11   the defendant did not have financial interest in or signature
  12   authority over any foreign financial accounts, and failed to disclose
  13   the income that the defendant received from his foreign financial
  l4   accounts;
  15                b.    The tax return contained a written declaration that it
  16   was made under the penalties of perjury;
  17                c.    '.t1he defendant did not believe the return statement or
  18   other document to be true and correct as to every material matter;
  19                d.    The defendant falsely subacr:i.bed to the tax return
  20   willfully, with the specific intent to violate the law.
  21          Defendant admits that defendant is,· in fact, guilty of the
  22   offenses as described in count one of the Information.
  23                                       PENALTIES
  24          10.   Defendant understands that the statutory maximum sentence
  25   that the Court cc;i.n impose for a viola,tion of Title 26, United States
  26   Code, Section 7206(1), is:       three years' imprisonment; a one-year
  27   period of supervised releasei a fine of $250,000 or twice the gross
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   1   gain or gross loss resulting from the offense, whichever is greatest;
   2    and a mandatory special assessment of $100.                                                                              Defendant agrees to pay
   3    the special assessment at or before the time of sentencing.
   4          11.   Defendant understands and agrees that the Court: (a) may
   5    order defendant· to, pay any additional fines that defendant owes to
   6    the United States; and (bf must order defendant to pay the costs of
   7    prosecution, which may be in addition to the statutory maximum fine
   8    stated above.
   9          12.   The parties further agree that the tax loss determined for
  10 . criminal purposes is not binding for civil purposes and is exclusive
  ll    of civil penalties and interest.
  12          13,   Defendant understands that supervised release is a period
  13    of time following imprisonment during which defendant will be subject
  14    to various restrict;ions and requirements.                                                                         Defendant understands that
  15    if defendant violates one or more .of the conditions of any supervised
  16    release imposed, defendant may be returned to prison for all or part
  17    of the teim. of, Irnpervised release authorized by statute for the
  18    offense that resulted in the term of super.vised release, which could
  19    result in defendant se:i:-ving a total term of imp.r.isonment greater than
  20    the statutory maximum stated above.
  21          14.   Defendant understands that, by pleading guilty, defendant
  22    may be giving up valuable government benefits and valuable civic
  23    rights, such as t he r ight to vote , the right to possess a firear m,
  24    the right to hold office, and .the right to serve on a jury.
  25    Defendant understands that once the Court aacepts defendant's guilty
                      ................,---------- -··-·····..····-..···..------···- .   ·-··-···-······""''""'"'... ·····------------··                           ------·............
                                                                                                                                          .........................                     ·················-- · - · - · · · · - .... ...... ······------·-···

  26    plea, it wi ll be a federal felony for defendant to possess a firearm
  27    or ammunition .             Defendant understands that the conviction in this

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   1   case may also subject defendant to various other collateral
   2   consequences, including but not limited to revocation of probation,
   3   parole, or supervised release .:l.n another case and suspension or
   4   revocation of a professional license.           Defendant understands that
   5   unanticipated collateral consequences will not serve as grounds to
   6   withctraw defendant's guilty plea.
   7           15.   Defendant understands that, if defendant is not a United
   8   States citizen, the felony conviction in this case may subject
   9   defendant to: removal, also known as deportation, which may, under
  10   some circumstances, be mandatory; denial of citizenship; and denial
  11   of admission to the United States in the future.           The Court cannot,
  12   and defendant's attorney also may not be able to, advise defendant
  13   fully regarding the immigration consequences of the felony convi9tion
  14   in this case.      Defendant understands that unexpected imrrd.gration
  15   consequences will not serve as grounds to withdraw defendant's guilty
  16   plea.
  17                                      FACTUAL BASIS

  18           16.   Defendant and the USAO agree and st.ipulate to the statement
  19   of fac:ts provided in Atta·chment A which is attached hereto anct
  20   incorporated by reference herein.           The statement of facts includes
  21   facts sufficient to support a plea of guilty to the charges described
  22   in this plea agreement.         It, is not meant to be a complete :recitation
  23   of all facts relevant to the underlying criminal conduct or all facts
  24   known to defendant that .relate to that conduct.          '!'he partie$
  25   stipulate that the conduct of defendant referred to .:i.n Attachment A
  26   hereto violated 26     u.s.c.    § 7206(1) as charged in Count One of the

  27   Information .
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                                              14
                                                                                 1S%<i11l.l0
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   1                                SENTENCING FACTORS

   2        17·,   Defendant understands that in determining defendant's
   3   sentence the Court is required to caloulate the applicable Sentencing
   4. Guidelines range and to consider that range, possible departures
   5   under the Sentencing Guidelines, and the other sentencing factors set
   6   forth in 18   u.s.c.   § 3553(a).   Defendant understands that the
   7· Sentencing Guidelines are advisory only, that defendant cannot have
   8   any expectation of .receiving a sentence within the calculated
   9   Sentencing Guidelines range, and that after considering the
  10   Sentencing Guidelines and the other Section 3553(a) factors, the
  11   Court will be free to exercise it$ discretion to impose any se~tence
  12   it finds appropriate, up to the maximum set by statute for the orime

  13   of conviction.

  14        18.    Defendant and the USAO agree to the following applicable
  15   Sentencing Guidelines factors:
  16     Base Offense Level:                     14    U. S.S. G. §§ 2Tl. 1 and
                                                       2'1'4.l(e)
  17     Sophisticated Means:                    +2    u.s.s.G. § 2Tl.1(b)C2)
  18     Acceptance of Responsibility:           -3    u.s.s.G. §5 3El.1 and
  19                                                   3E1.l(b)

  20     Total Offense Level:                    13

  21
  22        The USAO will agree to a two·-level downward adjustment fo;,;

  23   acceptance of responsibility (and, lf applicable, move for an
  24   additional one-level downward adjustment under U.S. S ~ G.    §   3E1. 1 (b) )
  2 5 . . qnly .if the conditions set forth as Defendant' s Obligations under

  26   paragraph 2, above, are met.
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   1         Subject to the provisions of paragraph 7 above, defendant and
   2    the USAO agree not to seek, argue, or suggest in any way, either
   3    orally or in writing, that any other specific offense
   4    characteristics, adjustments, or departures relating to the offense
   5    level be ;imposed.      The USAO will agree to a downward adjustment for
   6    acceptance o:f responsibility (and, if applicable, move for an
   7    additional level under 3El.1(b)) only if the conditions set forth in
   8    this agreement are met.         Defendant agrees that if, after signing this
   9    agreement but prior to sentencing, defendant were to commit an act,
  10    or the USAO were to discover a previously·undiscovered aot committed
  11    by defendant prior to signing this agreement, which act, in the
  12    judgment of the USAO, constituted obstruction of justice within the
  13    meaning of U.S. S. G.    §   3Cl. 1, the USAO would be free to seek the
  14    enhancement set forth in tl1at section.        Additionally, each party
  "is   reserves the right to argue, and to dispt,1te the arguments of the
  16    other, regarding the ~pplicability of 18        u.s.c.   § 3553{a) and other
  17    cteparture factors.
  18         19.   Defendant understands that there is no agreement as to
  19    defendant's criminal history or criminal history category.
  20         20.   The stipulations in this agreement do not bind either the
  21    United States Probation Office or the Court.         The Court will
  22    determine the facts and calculations relevant to sentencing.           Both
  23    defendant and the USAO are free to:         (a) supplement the facts
  24    stipulated to in th.is agreement by supplying relevant information to
  25    the United States Pro}:)ation Office and the Court, {b) correct any and
  26    all factual misstatements relating to the calculation of the
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   1   sentence, and (c) argue on appeal and collateral review that the
   2   Court's sentencing calculations are not error.
   3        21.   Defendant understands that if the Court finds facts or
   4   reaches conciusions different from those in any stipulation contained
   5   , in this agreement, defendant cannot, f.o:r that reason alone, withdraw
   6   defendant's guilty plea.
   7                        WAIVER OF CONSTITUTIONAL RIGHTS
   8        22.   Defendant understands that by pleading guilty, defendant
   9   gives up the following rights;
  10              a.   The right to persist in a plea of not guilty.

  11              b.   The right to a speedy and public trial by jury.
  12              c.   The .right to be represented by counsel - and if
  13   necessary have the Court appoint counsel - at trial.      Defendant
  14   under~tands, however, that, defendant r~tains the right to be
  15   represented by counsel - and if necessary have the Cou.r.t appoint
  16   counsel - at every other stage of the proceeding.
  17              d.   The right to be presumed innocent and to have the
  18   burd.en of proof placed on the government to prove defendant guilty
  19   beyond a reasonable doubt.
  20              e.   The right to confront and cross-examine witnesses
  21   against defendant.
  22              f.   'rhe right to testify and to present evidence in
  23   opposition to the charges, including the right to compel the
  24   attendance of witnesses to testify.
  25              g.   ':rhe ;eight not to be compelled to testify, and., if
  26   defendant chose not to testify or present evidence, to have that
  27   choice not be used against defendant.
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   1               h.   Any and all rights to pursue any affirmative defenses,
   2   Fourth Amendment or Fifth Amendment claims, and other pretrial
   3   motions that have been filed or could be filed.
   4                         WAIVER OF Al?PE:AL OF CONVICTION
   5        23.    Defendant understands that, with the exception of an appeal
   6   based on a claim that defendant's guilty pleas were involuntary, by
   7   pleading guilty defendant is waiving and giving up any right to
   8   appeal defendant's convictions on the offenses to which defendant is
   9   pleading guilty.
  10              LIMITED MUTUAL WAIVER OF APPEAL AND COLLATERAL ATTACK
  11        24,    Defendant agrees that, provided the Court imposes a term of
  12   imprisonment within or below the range corresponding to his total
  13   offense level ~nd the criminal history category calculated by the
  14   Court; defendant gives up the right to appeal all of the following:
  15   {a) the p:rooedures and calculations used to determine and impose any
  16   portion of the sentence; (b) the term of imprisonment imposed by the
  17   Court; (c) the amount and terms of a9y restitution order, and any
  18   fine imposed by the Court, provided it is within the statutory
  19   maximum; (d) the term      o;E   probation or supervised release imposed by
  20   the Court, provicted it is within the statutory maximum; and (e) any
 21    of the following conditions of probation or $Uperviaed release
 22    imposed by the Court:       the standard conditions set forth in General
 23    Orders 318, 01-05 and/or 05-02 of this Court; the drug testing
 24    conditions mandated   by    18   u.s.c.   5§ 3563(a} {5) and 3583(d); and the
 25    alcohol and drug use conditions authorized          by   1,8   o.s.c. 5   3563{b) (7).

 26         25.    'rhe USAO agrees that, provlded {a) all portions of the
 27    sentence are at or below the statutory maximum specified above, (b)
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   1   the Court calculates the offense level to be used for selecting a

   2   sentencing range under the Sentencing Guidelines to be at or above
   3   the range determined by the government, prior to any departure under
   4   u.s.S.G. §   5Kl.lf and (c} the Court imposes a term of imprisonment
   5   within or above the range corresponding to the offense level
   6   calculated after any downward departure under U.S.S.G.              §   5Kl,1 and
   7   the criminal history category calculated by the Court, the OSAO gives
   8   up its right to appeal any portion of the sentence.
   9                           RESULT OF WITHDRAWAL OF GUILTY PLEA
  10         26,    Defendant agrees that if, after entering guilty pleas
  11   pursuant to thi$ agreement, defendant seeks to withdraw and succeeds
  12   in withdrawing defendant's guilty pleas on any basis other than a
  13   claim and finding thc1t entry into this plea agreement was
  14   involuntary, then (a) the USAO will be .relieved of all of its
  15   obligat:Lons under this agreement, including in particular its
  16   obligations regarding the use of Cooperation Information; (b) in any
 17    investigation, criminal prosecution, or civil, administrative, or
  18   x·egulatory action, defendant agrees that any Cooperation !nfo.rmi;ition
 19    and any evidence derived from any Cooperation Information shall be .
  20   admissible against def~ndant, and defendant will not assert, and
  21   hereby waives and gives up, any claim under the United States
 22    Constitution, any statute, or any federal rule, that any Cooperation
 23    Information or any evidence derived from any Coope:ration Information
 24    should be suppressed or is inadmissible; and (c) should the USAO
 25    choose to           any charge or any oivil, administrative, or
 26    regulatory action that was either dismissed or not filed as a result
 2'7   of this agreement, then (i) any applicable statute of limit ations

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   1   will be tolJ,ed between the date of defendant's signing of this
   2   agreement and the filing commencing any such action; and
   3    (ii) defendant waives and gives up all defenses based on the statu.te
   4   of limitations, any claim of pre-indictment delay, or any $peedy
   5   t;rial claim with respect to any such action, except to the extent
   6   that such defenses existed as of the date of defendant's signing this
   7   agreement.
   8                           EFFECTIVE DATE OF AGREEMENT
   9         27.    This agreement is effective upon signature and execution of
  10   all required certifications by defendant, defendant's counsel, and an
  11   Assistant United States Attorney.
  12                                BREACH OF AGREEMENT
  13         28.    Defendant agrees that if defendant, at any time after :the
  14   signature of this agreement an.ct execution of all :i:-equired
  15   certifications by defendant, defendant's counsel, and a prosecutor,
  16   knowingly violates or fails to perform any of defendant's obligations
  17   under this agreement ("a breach"), the USAO may declare this
  18   agreement breached.     For example, if defendant knowingly, in an
  19   interview, before a grand jury, or at trial, falsely accuses another
  20   person of criminal conduct or falsely minimizes defendant's own role,
  21   or the role of another, in criminal conduct, defendant will have
  22   breached thi1;1 agreement.   All of defendant's obligat:L<.ms are
  23   material, a single breach of th.is agreement is sufficient for the
  24   USAO to declare a breach, and defendant shall not be deemed to have
  25   cured a breaoh without the express agreement of the USAO in writing.
  26   If the USAO declares this agreement breached, and the Court finds
  27   such a breach to have occurred, then:
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   1               a.    If defendant has previously entered a guilty plea
   2   pursuant to this agreement, defendant will not be able to withdraw
   3   the guilty plea.
   4               b.    The USAO will be relieved of all its obligations under
   5   this agreement; in particular, the· OS.AO: (i) will no .longer be bound
   6   by any agreements concerning sentencing and will be free to seek any
   7   sentence up to the statutory maximum for the crimes to which
   8   defendant has pleaded guilty;      (ii) will no longer be bound by any

   9   agreements regarding criminal prosecution, and will be free to
  10   criminally prosecute defend.ant for any crime, including charges that
 11    the USAO would otherwise have been obligated not to criminally
  l2   prosecute pursuant to this agreement; and (iii) will no longer be
 13    bound by any agreement regarding the use of Cooperation Information
 14    and will be free to use any Cooperation Informc1tion in any·way in any
 15    investigation, criminal prosecution, or civil, administrative, or
 16    regulatory action.
 17                c.    The USAO will be free to criminally prosecute.
 18    defendant for false statement, obstruction of justice, and perjury
 19    based on any knowingly false or misleading statement by defendant.
 20                d.   · In any investigation, cr:i.m.i.nal prosecution, or civil,
 21    administrative, or regulatory action: (i) defendant wi.ll not assert,
 22    and hereby waives and gives up, any claim that any Cooperation
 23    lnformation was obtained in violation of the Fifth Amendment
 24    privilege against compelled $elf-incrimination; and (ii) defendant
 25    agrees that any Coope:.cation Information and any J?lea Informationr as
 26    well as any evidence derived from any Cooperation lnformation or any
 27    Plea Informat.ion, sh"all be admissible against defendant, and

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   1   defendant will not assert, and hereby waives anct gives up, any claim
   2   under the Onited States Constitution, any statute, Rule 410 of the
   3   Federal Rules of Evidence, Rule 11 (f) of the Federal Rules of
   4   Criminal Procedure, or any other federal rule, that any Cooperation
   5   Information, any Plea Information, or any evidence der:l.ved from any
   6   Cooperation Information or qny Plea Information should be suppressed
   7   or is inadmissible.
   8        29.   Following the Court's finding of a knowing breach of this
   9   agreement by defendant, should the USAO choose to pursue any charge
  10   or any civil, administrative, or .regul,atory action.that was either
  11   dismissed cir not fil~d as a result of this agreement, then:
  12              a.   Defendant agrees that any applicable statute of
  13   limitations is tolled between the date of defendant's signing of this
  14   agreement and the filing commencing any such action.
  15              b.   Defendant waives and gives up all defenses based on
  16   the statute of limitations, any claim of pre-indictment delay, or any
  17   speedy trial claim with respect to i.:iny such action, except to the
  18   extent that such defenses existed as of the date of defendant's
  19   signing this agreement.
  20                    COURT ANO PROBATION OFFICE NO'I' PARTIES

  21        30.   Defendant understands that the Court and the United States
  22   Probation Office are not parties to this agreement and need not
  23   accept any of the USAO's sentencing recommendations or the pa;ctiesr
  24   agreements to facts or sentencing factors.
  25        31.   Defendant understands that both dE;i!endan.t and the USAO are

 26    free to:   (a) supplement the facts by supplying reievant information
 27    to the United States Probation Office and the Court; (b) correct any
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   1      and all factual misstatements relat.ing to the Court's sentencing
      2   Guidelines calculations, and (c) argue on appeal and collateral
      3   review that the Court's Sentencing Guidelines calculations are not in
      4   error.      Whj.le this paragraph permits both the USAO and defendant to
   5      submit full and complete factual information to the United States
      6   l?robation Office and the Court, even if that factual information may
   7      be viewed as inconsistent with the facts agreed to in this agreement,
   8      this paragraph does not affect defendant's and the USAO's obligations
   9      not to contest the facts agreed to in this agreement.
  10            32.    Defendant understands that even if the Court ignores any
  11      sentenoing recommendation, finds facts, or reaches conclusions
  12      different from those agreed to, and/or imposes any sentence up to the
 13       rnaxtmum established by ~tatute, defendant cannot, .for that reason,
 14       withdraw <:iefenda1pt's guilty ple~, and defendi;l.nt will remain bound to
 15       .fulfill all def.endant's obligations under this agreement.          Defendant
 16       understands that no one - not the prosecutor, defendant's attorney,
 17       or the Court - can make a binding prediction or promise regarding the
 18       sentence defendant will receive, except that it will be within the
 19       statutory maximum.
 20                                 NO ADDITIONAL AGRE~MENTS
 21            33.     Defendant understands that, except as set forth herein,
 22       ther.e are no promises, understandings, or agreements between the !JSAO·
 23       and defendant or defendant's attorney, and that no additional
 24       promise, understanding, or agreement may be entered into unless in a
 25       writing signed by all parties or on the record in court.
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   1               PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
   2        31.   The parties agree that this agreement will be considered
   3   part of the record of defendant's guilty plea hearing as if the

   4   entire agreement had been read into the record of the proceeding.
   5   AGREED AND ACCEPTED
   6   UNITED STATES ATTORNEY'S OFFICE
       FOR THE CENTRAL DISTRICT OF
   7   CALIFORNIA
   8

   9

  10
  11                       States Attorney
                        Tax Division
 12
 13    UNITED STATES DEPARTMENT OF JUSTICE
       TAX DIVISION
 14
       RICHARD E. ZUCKERMAN
 15    Principal Deputy Assist~nt Attorney
       ~eral
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 17
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       ~E~R~~~---
       Assistant Chief
                                                    DatEI

       ERIC C. SCHMALE
       Trial Attorney
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   1                                                                                    CERTIFICATION OF DEFENDANT
   2                        I have read this agreement in its entirety.                                                                                                                         I have had enough
   3     time to review and consider this agreement, and I have carefully and
   4     thoroughly discussed every part of it with my attorney.                                                                                                                                                         I understand
   5     the terms of this agreement , and I volunta r ily agree to those terms.
   6     I have discussed the evidence with my attorney, and my attorney has
   7     advised me of my rights , of possi ble pretrial motions that might be .
   8     filed , of possible defenses that might be asserted either prior to or
   9     at tri al , of the sentencing factors set forth in 18                                                                                                                                         u.s.c .                  § 3553(a),

  10     of relevant Sentencing ~uidelines provisions, and of the consequences
  11     of entering i nto this agreement .                                                                                          No promises , inducements, or
                '
  12     representations of any kind have been made to me other than those
  13     contained in this agreement.                                                                                 No one has threatened or forced me in
  14     any way to enter into this agreement.                                                                                                         I am satisfied with the
  15     representation of my attorney in this matter., and I am pleading
  16    gui lty because I am guilty of the charges and wish to take advantage
  17    of t he promises set f orth in this agreement, and not for any other
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                                    1                                                            CERTIFICATION OF DEFENDAN'l'' S A'l'TORNEY

                                    2              I am ELIE WAKNINE'S attorney.                                                                                            I have cax:efµlly and thoroughly

                                    3    discussed every part of this agreement with my client.                                                                                                                                                    Further, :r
                                    4    have fully advised my client of his rights, of possible pretrial
                                    5    motions that might be filed, of possible defenses that might be
                                     6   asserted either prior to or at trial., of the sentencing factors set
                                     7    forth in 18                           u.s.c.                       § 3553(a), of relevant Sentencing Guidelines

                                     8    provisions, and                                        o;f         the consequences of entering into this agreement.
                                     9    To my knowledge: no promises, inducements, or representations of any
                                    10    kind have been made to my client other than those contained in this
                                    11    agreement; no one has threatened or forced my client in any way to
                                    12    ente:i; into this agl:'eement; my client's decision to enter into this
                                    13    agreement is an informed and voluntary one; and the factual basis set
                                    14                                                                                     t i s sufficient t~ support my client's entry of

                                    15                                                                                   _to this agreement.
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  1                                     ATTACHMENT A
  2                                  S~ATEMENT OF FACTS

  3         1.     ELIE WAKNINE, ("Waknine" or "the defendant") was born in
  4   Casablanca, Morocco in 1949.        From in or about 1966 to 1971, Waknine
  5   lived in Israel.      Waknine then immigrated to the United States in
  6   1971 .and became a U.S. citizen in 1982 .        Waknine is a citizen of the
  7   United States, Morocco, and Israel.
  8         2.     From in or about 1972 until 1985, Waknine worked for an
  9   electronics company.       From in or about 1985 until 2004, Waknine
 10   operated his own clothing business , and from in or about 1995 thr.o ugh
 11   2003, Waknine also worked in a dental supply business.             From in or
 12   about 2004 through approximately 2011, Waknine was retired but
 13   continued to do limited work in the clothing business.
 14         3.     Since in or about 1991, Waknine has lived in Huntington
 15   Beach, . California , which is located in the Central District of
 16   California.
 17              Waknine's UnreEorted Foreign Bank Accounts (1994-2011)
 18         4.     In or about 1994, Waknine received an inheritance from his
 19   family in Morocco , which he used to open a bank account at Bank Leumi
 20   in Israel (the "Bank teumi Israel Account").           He opened the account
 21   with an initial deposit of approximately ·$50 , 000.         For the next
 22   several years, he deposited additional inheritance money in the
 23   account, with deposits totaling approximately $4 million.
 24         5.     Wakni ne concea led his Bank Leumi I srae l Account, and t he
 25   income derived from thi~ account, from t he I nter nal Revenue Ser vice
 26    (IRS) and f rom his tax return preparers at al l times prior to the
 27   c losing of t hi s account i n 2011, including t hrough t he f oll6wi ng~
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   1             a. Waknine opened anct mainta'ined the account using the code
   2               name "Jonathan Co." fo.r purposes of keeping the account
   3               secret.
   4             b . Waknine paid an additional fee so that Bank Leumi Israel
   5               would not mail correspondence to him in the U.S. regarding
   6               his account, known as the "Hold Mail" option.
   7             c. Waknine signed under penalty of perjury and filed false
   8               individual income ta~ returns, Forms 1040, which falsely
   9               claimed that Waknine did not have a financial interest in
  10               or signature authority over a financial account located in
  11               a foreign country and did not declare incom~ derived from
  12               his Bank Leumi Israel Account.
  13             d. Annually, Waknine provided bank account records to his tax.
  14               return preparer, but did not provide records from or notify
  15               his return preparer of his Bank teumi Israel account .
  16        6.     In or about 2004, Waknine opened a second foreign bank
  17   account at Swiss Bank #1 .located in Switzerland (the "Swiss Bank
  18   Account"), funded with approximately $1. 5-2 . O million from his Bank
  19   Leumi Israel Account .
  20        7.     Wakni~e concealed his Swiss Bank Account, and the income
  21   derived from this account, from the IRS and from his tax return
  22   preparers at all times prior to the closing of this account in or
  23   about 2011, including through the following:
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  1                                                  a. Waknine signed blank account opening documents on the

  2                                                         instructions of S~iss Bank #1, which the bank then used to

  3                                                         open anct maintain his account using an entity na1ne, "Sorn

  4                                                          Investments Inc.," which was an entity incorporated in

  5                                                          l?anama through                                            a      l?anamanian law firm,

  6                                                  b. Waknine requested that Swiss Bank #1 not mail

  7                                                          correspondence to him in the                                                                                     u.s.                  regarding his account,

  8                                                       · known as the "Hold Mail" option.
  9                                                  c. Waknine signed under penalty of perjury and filed false

 10                                                          individual income tax returns, Forms 1040, which falsely

 11                                                          claimed that Waknine did not have a financial interest in

 12                                                          or signature authority over a financial account located in

 13                                                          a foreign country and did not declare in~ome. derived from

 14                                                          his Swiss Bank Account.
 15                                                  d. Annually, Waknine provided bank account records to his tax

 16                                                           return J?reparer, but did not provide records from or notify
 17                                                          his return preparer of his Swiss Bank Account.

 18                                         8.               On or about April 15, 2008, Waknine made, subscribed,
 19               signed, and filed a 2007 federal U.S. Individual Income Tax Return,
 20               Form 1040, which was false as to a material matter, as it falsely
 21               stated that the defendant did not have financial interest in o:i=
 22               signature authority over any foreign financial accounts, and failed
  23             to discl ose the income that the defendant received from his foreign
  24              financial accounts.                                                                           The false 2007 tax return contained a written
  25              declarati on that it was made under the penalties of perjury, the
       ~.::.   __::..·.:... . ··..:..:.·..·: ··...   ·· -.· ..- -,-·..·····-   · ............-- - ·..····----    ······++·- - .....-   ---·-·····....._   ............- --········- ·····..···-·-   ···--······----·: ·····-   ·····----   ---- ·.....- -..··········____;· ·.. ···· - ········--   ·······-·- ········..··-   ··

  26              defendant did not believe the tax return to be true and correct as to
  27              every material matter, and the defendant willful ly subscribed to the

  28
                                                                                                                                                      29
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  1   tax return with the specific intent to violate the law.
  2          9.    A "back-to-back loan" was a mechanism by which a foreign
  3   accountholder received a "loan" in the United States which was
  4   collate.r;alized -by an undeclared foreign account.           Account holders
  5   were generally prohibited from drawing down the account below the
  6   amount owed on the "loan" in the United States, the.r eby in effect
  7   transferring the use of the funds from the foreign account to the
  8   United States without having to wire the f1mds to a11 account in the
  9   United States.      The foreign account balance would include the
 10   encumbered funds, even though they were not available to the OS
 11   taxpayer, except in the form of the "loan'' in the United States.
 12   This allowed an owner of an undeclared foreign account to enjoy the
 13   economic benefits of the funds in the United States without formally
 14   repatriating the funds or creating a paper trail that could
 15   potentially disclose the existence of the undeclared foreign account
 16   to U.S. authorities.
 17          10.   In 2009, at the suggestion of Bank Leum;i, 1 srae1, Waknine
 18   applied for and recei.ved a back-to·-back loan from Bank Leumi USA ;i.n
 19   the amount of $500,000, which was secured by Waknine's account at
 20   Bank Leumi !sraeL        In order to .secure the loan, Waknine agreed to
 21   transfer approximately $150,000 of his investment portfolio with
 22   another United States bank to Bank Leumi USA.

 23          11.   The proceeds of the ba.ck-to ... back loan. were used to pay off
 24   $500,000 of a mortgage loan on Waknine's personal residence at
 2S   another b.a nk in the Onited States.
 26          12.   ln 2010, Waknine extended his back~to-back l oan with Bank
 27   Leumi USA through July 2012.

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      1        13.   In June 2011, Bank Leumi Israel info:cmed Waknine that he
      2   would no longer be able to maintain his account under the code name
      3   Jona than Co.
      4        14.   In September 2011, Waknine declined to sign a declaration
      5   provided by Bank Leumi Israel stat°ing that the existence of, and any
      6   income derived from, the account maintained at Bank Leumi Israel had
      7   been properly reported to U. s .. tax authorities.
      8        15.   In November 201'1, Waknine requested that his Bank Leumi
      9   Israel account be closed.          Waknine used the back-to-back loan from
  10      Bank Leumi USA to indirectly :cepatriate $500,000 from his Bank Leumi
  11      Israel account by pocketing the proceeds of the loan in the United
  12      States and allowing Bank Leumi Israel to deduct a corresponding
  13      amount from his Bank Leumi Israel account.
  14           16.   Waknine attempted to conceal the remaining accmmt balance
  15      of approximately $2.4 million by requesting in writing that it be
  16      transferred by personal checks to Waknine's home address in the
  17      United States.
  18           17.   From 2006-2011, Waknine received unreported income on his
 19       Bank Leumi Israel account in approximately the following amounts:
 20
 21                        Year                         aank Leumi Isxael :tneome
 22                        2006   ·-   --·
                                                                $140,892
 23                        2007                                 $157,824
 24                        2008                                 $119,980
 25                        2009                                 $63,449
 26
 27
 28
                                                 31 ·
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                                    1                                              Yea:r                                                     B.ank Leumi lsr&$l Income

                                    2                                              2010                 -                                                           $13,2051
                                    3                                              2011                                                                             $10, 9462
                                    4                                             '?O!l'AL                                                                          $506,296
                                    5                                                          -
                                    6                           Waknine's !.Jnre2orted Forei9:n Bank Accounts (201~-201St
                                    7                   18.           Still wishing to avoid disclosure of the for·e ign funds from
                                    8     his now-closed Bank Leumi Israel account, in December 2011 Waknine
                                    9     used the $2.4 million he received from closing the account to open a
                                   10    new foreign bank account at another bank i'n Israel {the "Second
                                   11     Is:i:-aeli Bank Account").                                             Waknine opened the acoount in person at a
                                   12    bianch in Netanya, :i:srael.
                                   13                   19.           Waknine concealed this Second Israeli Bank Account from the
                                   14     IRS and from his tax return preparers from its opening until in or
                                   15    about October 2015, including th.rough the following affirmative acts:
                                   16                          a. Waknine opened and maintained the account using his Israeli
                                   17                                 and Moroccan passports and addresses.
                                   18                         b. Waknine s.igned under penalty of perjury and filed
                                   19                                 individual income tax returns, Forms 1040, for tax years
                                   20                                 2011-2013, which falsely claimed that Waknine did not have
                                   21                                a financial interest in or s.ignature authod.ty ove:r a
                                   22                                 financial account located in a fdreign country .                                                                                           These tax
                                   23                                 r eturns did not declare any income derived from his Second
                                   24
                                                       1    Based on information currently ava,ilable to the IRS, the
                                   25      unreportect Bank Leumi JsJ.ael incom.e for 20+0 tj;i,<:1 .PQf f~/~1~,;J,~__,An ~ tax------ --·-·-·--
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.................. ..·-·····   -        ·'·1 '6's's·"-'·f r-fr''::2'0'1{f;;--····-·-·-··-·---'--- -----'-----·-·-"'··-··--------•--"-·-·-·-····------------------·-·-·-···--------------·--··-·---------- ---------·--·--·------------·····-·-·----------
                                   26
                                                Based on the information currently available to the IRS, the
                                                       2

                                   27    unreported Bank Leumi Israel income for 2011 did not res ult in a tax
                                         loss for 2011.
                                   28
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                                                                                                                                                                                                                               15966711.10
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                                   1                   Israeli Bank Account.
                                   2              c. In 2012 and 2014, documents created by his tax return
                                   3.                  preparer reflect that Waknine was asked by his tax return
                                   4                   preparer whether he had any foreign bank accounts, and
                                   5                   Waknine responded in the negative.
                                   6              d. Annually, Waknine provided bank account records to his tax
                                   7                   return preparer, but did not provide records from or notify
                                   8                   his return preparer of his Second Israeli Bank Account.
                                   9              e. In 2012, 2013, and 2015, Waknine's tax return preparer also
                                  10                   provided email reminders prior to the June 30 deadline that
                                  11                   foreign bank accounts for the prior year were required by
                                  12                   law to be disclosed to the U.S. Treasury Department.
                                  13                 f. When Waknine ultimately disclosed the account to his tax
                                  14                   return preparer at a meeting in October 2015, notes of the
                                  15                   meeting taken by the tax return preparer reflect that
                                  16                   Waknine claimed that his name was not on the account prior
                                  17                   to 2014.
                                  18           20.     Meanwhile, in approximately 2011, Waknine closed his·Swiss
                                  19    Bank Account.       Still wishing to avoid disclosure of the foreign funds
                                  20    from his now closed Swiss Bank account, in 2011 Waknine used the

                                  21    remaining balance of approximately $1.4 million to open an account at

                                  22    a bank in France (the "French Bank Account").

                                  23           21.     Waknine concealed this French Bank Account f r om the IRS and

                                  24    from his tax return preparers from its opening until in or about

                                  25    October 2015, including through the following:
··-·-··-·--······· ............
                                  26              a. Waknine opened a nd maintained the account using hi s

                                  27                   Moroccan address and passport.
                                  28
                                                                                33
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                    ǝɐČǞϠǟčσȧЈ ǠɑáʤȼĹЈ ͵ϮЈ ˸ĺͶτ˹ɒ͑Ј pʥ˺Ƚ͒Ј 6]Ј ƥʦ˻Ј ͷϯЈ ϹĻ˼͓
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                    ƨǫɛɜåǬȬЈ æçʫχɝ΀Ј ȭʬè΁ńđЈ ǭɞЈ Ј Ʃʭ̂ŅǮƶɟЈ éʮψɠ΂̃ϼЈ xƿņ͗ŇЈ ΃ϰ
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                  ï sɨЈ M":NЈ ɩėЈ O#;^Ј ĘʳðϋɁŏɪ·͚Ј ñ̊Ő ΈőęЈ ×ϾЈ ǂǳ͛Ј Ή¡ϱЈ ̋ŒΊό̌ɫ
                     ˝̍œ˞¢̎Ŕ̏Ј ̐ŕƫȯŖò΋Ј Όǃ£΍Ј }¤șɬǴɭŗЈ ϩ¥͜Ј ¦͝ȚŘĚЈ ØϿЈ Ǆǵ͞Ј Ύ§ϲЈ ̑řΏύ̒ɮ
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  +,Ј                ~®ȜɴǷɵŠЈ ̘š͠ˡʶɶĝŢĞЈ ǸɷЈ ΒǉţЈ ɸŤƸ¯ΓǹϤť
  -AЈ             ğ kɹɺϏ°ȰȱЁЈ ±ȝɻǺɼŦЈ ˢ̙ʷϥǻĠŧġЈ Ú²ɽȞЈ ³õöʸϐɾΔЈ ̚Ũ÷ʹ̛Ģ͡Ј ΕʺЈ ǊǼ͢Ј Ζ´ϳ
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  0`Ј             Ų tʆЈ P$<Q Ј R%=Y Ј ¸ʇħЈ S&>b Ј ¹ȠʈȂʉųͦЈ ΝºϴЈ ̬ŴΞϕ̭ʊЈ ˨̮ŵ˩»̯Ŷ̰Ј ¼Ȳͧ˃
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  4iЈ             Ʋ ǒƌʒЈ ÆȢʓȌʔƍЈ ϚȷΪȍɆÇΫƎȸІЈ İȎͭÿȹˎͮƏıЈ άǓƐЈ ÈĀāˏϛʕέЈ ήːЈ ǔȏͯЈ ίÉϵ
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                    EXHIBIT B
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                                             FBAR Agreement


        Elie Waknine (SSN -       0510) ofl             Huntington Beach, California -
        and the Commissioner oflnterna1 Revenue ("Commissioner") (collectively, the "Parties")
        make the following agreement:

        1. Elie Waknine had U.S. reporting and filing requirements for his foreign accounts and
           failed to file Forms TD F 90-22.1 or FINCEN Forms l 14, Report ofForeign Bank and
           Financial Accounts (FBAR), for the calendar years 2004 through 2013, as required by
           law.

        2. Elie Waknine wants to resolve, on terms acceptable to the Commissioner, his liability for
           penalties under 31 U.S.C. section 5321 (a)(S) attributable to his failure to timely file
           FBARs for the calendar years 2004 through 2013, as required by law.

        3. The parties have resolved Elie Waknine's liability for penalties under 31 U.S.C. section
           5321 (a)(S) for the calendar years 2004 through 2013.

        4. The parties have determined that it is mutually advantageous for them to enter into this
           agreement.

        5. Elie Waknine acknowledges that this agreement is entered into voluntarily and not as a
           result of coercion or duress.

        6. The Commissioner has authority arising under Title 31 of the United States Code to
           impose penalties relating to the failure to file FBARs. The authority has been granted
           to the Commissioner by the Financial Crimes Enforcement Network (FinCEN)
           through a Memorandum of Agreement and through a Delegation of Authority for
           Enforcement of FBAR Requirements under Title 31, including the authority to assess
           and collect civil penalties under 31 U.S.C. section 5321.

        7. The parties agree that there is a penalty due from Elie Waknine under 31 U.S.C.
           section 532 l(a)(5) in the amount of$2,407)624 for failure to file FBARs for calendar
           years 2004 through 2013.

        8. The parties agree that the 31 U.S.C. section 532l(a)(5) penalty due from Elie
           Waknine, which shall be assessed for calendar year 2007, is beneath the statutory
           maximum of the amount of penalty authorized under 31 U.S.C. section 532l(a)(5).




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         FBAR Agreement
         with Elie Waknine (SSN -        051 O)

         9. Elie Waknine waives any and all defenses to the assessment and collection of the
            FBAR penalty under Title 3 I of the United States Code described in the preceding
            paragraph, including any defense based on the expiration of the period of limitations
            on the assessment or co lie · n of penalties and interest.


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